                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________

DAMIEN HEWLETT,

                    Plaintiff,
                                                      Case No. 24-cv-0377
      v.

JUSTIN THOMSEN, et al.,

                    Defendants.

______________________________________________________________________

            STIPULATED REQUEST TO AMEND SCHEDULING ORDER


      The parties submit this stipulated request to amend the current Scheduling

Order (DKT #23) to the following:

      The parties shall complete discovery by May 9, 2025.

      All dispositive motions shall be due by June 9, 2025.


      Dated in Milwaukee, Wisconsin this 4th day of February 2025.



MOTLEY LEGAL SERVICES                          STATE OF WIS. DEPT. OF JUSTICE


s:/ Kimberley Cy. Motley                       s:/ Mmeli Obi
Kimberley Cy. Motley                           Mmeli Obi
Wisconsin State Bar No.: 1047193               Assistant Attorney General
Telephone: (704) 763-5413                      Division of Legal Service, Civil Litigation
Email: kmotley@motleylegal.com                 17 West Main Street
Attorney for Plaintiff Damien Hewlett          Madison, WI 53707
                                               Telephone : (608) 266-0180
                                               obim@doj.state.wi.us
                                               Attorney for Defendants




      Case 1:24-cv-00377-WCG        Filed 02/04/25   Page 1 of 1     Document 71
